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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,

      v.                                           Civ. No. 2:19-cr-00120 (KM)

GORDON COBURN and STEVEN                                       ORDER
SCHWARTZ,

      Defendants.



      For the reasons set forth in the accompanying Opinion, and for good cause
shown,
      IT IS this 24th day of January, 2022,
      ORDERED that Defendants’ joint motion to compel Cognizant’s
compliance with the Category A subpoenas, (DE 150), is GRANTED with
respect to materials including (a) responsive materials dated April to August
2016; (b) text messages and messages from Cognizant’s internal messaging
system; (c) draft press releases and public disclosures; (d) communications
with public relations firms concerning public disclosures, communications,
potential litigation, and related legal strategy; (e) document retention policies
and the dates of their promulgation; and (f) interview summaries and their
underlying documents, communications, or records to the extent that the these
summaries or the contents of these materials (1) were conveyed by Cognizant
to DOJ; or (2) formed any part of the basis of any presentation to DOJ.
Defendant’s joint motion to compel compliance with the Category A subpoenas
is otherwise DENIED and Cognizant’s mirroring motion to quash the Category
A subpoenas, (DE 169), is GRANTED to the same extent.
      IT IS FURTHER ORDERED that Cognizant’s motion to quash the
Category B subpoena, (DE 197), is GRANTED as to Requests 2, 3(d)-(e), 4(c),
(e), (g), (i), 6, 7(b)-(c), 9, 10(b), (d)-(g), 11 (with one exception, detailed below),
21, 22, 23, 24, 25, 26, 27, 28, 32, and 33, but is otherwise DENIED.
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Accordingly, Defendants’ motion to compel compliance with the Category B
subpoena, (DE 211), is DENIED as to these requests but is GRANTED for the
remainder of the Category B subpoena requests, with the following
specifications:
   •   In response to Request 8, Cognizant need only produce materials
       relevant to Request 7(a).
   •   In response to Request 11, Cognizant need only produce Board of
       Directors and Audit Committee meeting materials that explicitly concern
       the subject matter of the indictment’s allegations.
   •   In response to Request 31, Cognizant need only produce materials that
       concern the subject matter of the allegations against Defendants and are
       not subject to a valid claim of attorney-client privilege.
       IT IS FURTHER ORDERED that any remaining privilege disputes may
be submitted to Magistrate Judge Hammer for resolution.
       IT IS FURTHER ORDERED that Defendants’ joint motion to compel
L&T’s compliance with the Category A and B subpoenas, (DE 167), is DENIED
and that L&T’s motion to quash Defendants’ Category A and B subpoenas, (DE
188), is thus GRANTED for lack of personal jurisdiction.
       ORDERED that Defendants may submit a proposed letter rogatory,
narrowed to requests complying with the constraints of Rule 17 and Nixon as
outlined in the accompanying opinion.
       ORDERED that L&T’s motion to maintain its filings on these motions
under seal, (DE 184, 217), is GRANTED until final resolution of Defendant’s
motion for letter rogatory, (DE 168), and until further order of the Court.


                                              /s/ Kevin McNulty
                                              ___________________________________
                                              Hon. Kevin McNulty
                                              United States District Judge




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